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TRICT ARKANSA$
MAY 10 2017
IN THE UNITED sTATES DISTRICT CoURT FoR THE
EASTERN DISTRICT oF ARKANSAS .éAMES W. M RMA CLERK
y:

Francois Johnson,

PLAINTIFF

2,' - .,,
Civil Case No. LM//§ A/“

Instant Auto Credit Corporation-

President/CFO
Thisc a e as sgned to DistrictJudge fw

DEFENDANT and to ft'éagistrate Judge .,/}f£@

Plail_ltiff Civil Complaint

Plaintiff Francois Johnson, files this Complajnt based upon VIOLATIONS OF THE FTC
ACT, Sharing non-public personal information, Deceptive Representations Regarding Financial
Privacy Rule, Presented No safe guards rules, Pretext provision, Deceptive use by sales
department and Trade Practices , Deceptive use in Dealing with Commerce, Defendant’s Receipt
of Negotiable Instrument :also plaintiff adds ( exh A ) Affidavit of Facts to Instant Auto Credit
Corporation, 1 thru 16) , (exh B ) Affrdavit of Fact (statements 1 thru 5 ) debt Validation, (exh

C ) Affidavit of Facts for Negotiable Instrument,
Instrument..
Plaintiff Wish is not hold Plaintiffs to the same stringent standards as that of a schooled
attorney. See Haines v, Kerner, 404 U.S. 519.

JURISDICTION AND VENUE

This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337(a), and 1345; 15
U.S.C. §§ 45(a), 53(b), and 57b; and Section 626 of the Omnibus Act, as clarified by Section 511
of the Credit Card Act, and amended by Section 1097 of the Dodd-Frank Act, 12 U.S.C. § 5538.

Venue is proper in this District under 28 U.S.C. § 1391(b)(1)-(2) and (c)(l)-(2), and 15 U.S.C. §
53(b).

Statement of Facts

Afrirms that on the stamped date beloW. April 3, 2017, I sent to defendant Instant Auto Credit
Corporation, P.O.Box 19179, Jonesboro Arkansas 72403 the following: Plaintiff sent documents
notarized and certified mail , tracking Number # 7015 0640 0003 2409 4313.

10.
11.

12.

13.

14.

15.
16.

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lt is a fact lnstant Auto Credit Corporation you are in unlawful possession of my Nonpublic
information without my expressed or implied consent.

lt is a fact lnstant Auto Credit Corporation that Abernathy Auto shared my Nonpublic
information with you without my expressed or implied and written consent and authorization.
lt is a fact lnstant Auto Credit Corporation never provided me with a Privacy Notice.

lt is a fact lnstant Auto Credit Corporation never provided me with a Safe Guard Notice.
lt is a fact lnstant Auto Credit Corporation are in violation of the ( G.L.B ) Rights Act V -( Gramm-
Leach- Bliley Act ,for noncompliance of Provisions ( A.) Privacy Notice,( B.) Safe Guard Notice
and (c.) the Pretexting Provision.

lt is a fact lnstant Auto Credit Corporation have never provided me an Annual Privacy Notice
after l became your customer.

lt is a fact lnstant Auto Credit Corporation that you are a third party non affiliate of Abernathy
Motor Co .
lt is a fact lnstant Auto Credit Corporation that you ARE lN DlSHONOUR for not responding to
my debt validating questions, sent certified and notarized.

lt is a fact lnstant Auto Credit Corporation that you never provided me a Disc|osure Document
about how, and who. You were going to share my nonpublic lnformation with.

lt is a fact lnstant Auto Credit Corporation that l never applied for financing with you.

lt is a fact lnstant Auto Credit Corporation that l never issued you my wage statements or bank
information.

lt is a fact lnstant Auto Credit Corporation that l never gave you a written Notice to have my Non
Pub|ic lnformation.

lt is a fact l never expressed or applied to you in person or any communication to give me a loan
or credit with your company.

lt is a fact l never gave you my Non Pub|ic lnformation in written form.

lt is a fact l never signed any Documents with you electronically or digita||y.

lt is a fact lnstant Auto Credit Corporation you purchased this agreement from Abernathy Auto.

Affidavit of Facts for Debt Validation

November 28, 2016, l sent lNSTANT AUTO CREDIT CORPORATION, the following:

17. My question to you is did you give me a loan?

18. Did you purchase this (RISC) MOTOR VEHICLE RETAIL INSTALLMENT CONTRACT
from Abernathy Motor Company‘?

  

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19. And if money was loaned could you please release or provide me with documentation of my
wet signature and yours on a loan agreement.

20.. Santander Consumer, after purchasing the (RISC) agreement or giving me a loan, did you
mail me a copy of the GLB Gramm-Leach-Baily ACT. Which According to the FTC’s you were
to mail me a copy when you took over the (RISC).

21.. DID you extend me credit under the Truth and Lending Act.?

22. The remedy seeked in the amount that is applicable by laws for breaking the rules in excess
of $100.000 for violation of the Gramm-Leach-Baily ACT, at less 10.000 for rules less flagrant.

Defendant’s Receipt of Negotiable Instrument

22. On September 2, 2016 plaintiff sent defendant INSTANT AUTO CREDIT CORPORATION
a notarized Promissory Note / Negotiable Instrument the (only) original on yellow paper signed
in (BLUE INK ) in the amount of 13,705.43 for the vehicle payoff, and promise to pay upon
terms which was neither accepted nor denied, nor ever returned to this date but was signed and
received sent by next day certified mail.

VIOLATIONS OF THE FTC AC'I`

22. Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or deceptive acts or
practices in or affecting commerce.”

23. Misrepresentations or deceptive omissions of material fact constitute deceptive acts or
practices prohibited by Section 5(a) of the FTC Act.

COUN'I` I

Deceptive Renresentations Regarding Finacial Privacy Rule

24. (A) Defedant fail to provide Financial Privacy Rule, as required by .

 

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COUNT II

Presented No safe guallls rules

25. (B) Defendant Fail to provide The safeguards Ru|e

COUNT III

Pretext provision

26. (C) Defendant Fail to Provide the Pretexting Provisions.

COUNT IV

Deceptive Tra¢_ie Practices

27. After defendant acquired the Retail lnsta|lment Contract (RlSC) from (seller) that you used
deceptive practices to acquire plaintiff non-public private information. Defendant acquired the contract
as stated, AND WlTHOUT plaintist EXPRESSED OR lMPLlED CONSENT , causing harm and injury through
treats and harassment by the defendant lnstant Auto Credit Corporation..

COUNT V
Deceptive use of dealings in Commeree

28. In a document Plaintiff asked defendant(s) the following question which was notarized and
sent certified; did you give me a loan?

29.Did you purchase this (RISC) MOTOR VEHICLE RETAIL INSTALLMENT CONTRACT
from Abernathy Motor Company?

30. And if money was loaned could you please release or provide me With documentation of my
Wet signature and yours on a loan agreement

 

 

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31.. After purchasing the (RlSC) agreement or giving me a loan, did you mail me a copy of the
GLB Gramm-Leach-Baily ACT. Which According to the FTC’s you were to mail me a copy
when you took over the (RISC).

32.. DlD you extend me credit under the Truth and Lending Act.?

COUNT VI

Sharing Plaintiff non-public private information

29. Defendant instant Auto Credit Corporation, is in possession of Plaintiff non- public information
without plaintiff expressed , implied or written consent.

PLAINIFF INJURY

Plaintiff have suffered and will continue to suffer substantial injury as a result of Defendants’
violations of the FTC Act, the MARS Rule, and Regulation Z, the Gramm -|each - B|i|ey Act - . In
addition, Defendants have been unjustly enriched as a result of their unlawful acts or practices.
Plaintiff suffers Emotional pain, suffering, inconvenience, mental anguish, loss of enjoyment of
life.

L!W

lt is well settled that the Defendants has committed all ,and every act mentioned in this
complaint ln violation of the Federal Trade Act, and in violations of Plaintiff rights.
DAMAGES

(1) Plaintiff seeks damages for blatantly and knowingly misleading plaintiff, deceitfully
in the amount of $1,000,000.00 for violations. Plaintiff seeks, compensatory and Punitive
damages pursuant in the amount of $1,000,000.00, for compensatory (2) punitive damages for
future emotional pain, suffering, inconvenience, mental anguish, loss of enjoyment of life, and

the amount punitive damages.

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REQUEST FOR RELIEF

Wherefore, Plaintiff request and (wish) is that to be granted an order to make Plaintiff
whole curing , and pay punitive damages as stated above, and keep to the vehicle, and for a jury

trial,

PLAINTIFF SWORN STATEMENT

Plaintiff Affirms that all the facts/allegations are true and correct pursuant to the penalty of

pel:iury- 411
l, Francois Johnson the living soul certify that on this l 0 day of May 2017.

 

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Francois Jo son y _
/»lu X firms find ‘°L' |
Memphis, Tenn 337 l’,;r§,’

Phone 1-901-628-2916

